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                                                                           FILED: June 9, 2025


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                       ___________________

                                           No. 25-1398
                                      (5:24-cv-00731-M-RJ)
                                      ___________________

        JUDGE JEFFERSON GRIFFIN

                      Plaintiff - Appellee

        v.

        VOTEVETS ACTION FUND; NORTH CAROLINA ALLIANCE FOR
        RETIRED AMERICANS; SARAH SMITH; JUANITA ANDERSON

                      Intervenors - Appellants

        and

        NORTH CAROLINA STATE BOARD OF ELECTIONS

                      Defendant - Appellee

         and

        ALLISON RIGGS; TANYA WEBSTER-DURHAM

                      Intervenors

                                    _________________________

                                      RULE 42(b) MANDATE
                                    _________________________

               This court's order dismissing this appeal pursuant to Local Rule 42(b) takes


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        effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                    /s/Nwamaka Anowi, Clerk




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